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                                                                            JS-6
 1                       UNITED STATES DISTRICT COURT
 2
                        CENTRAL DISTRICT OF CALIFORNIA
 3

 4
      JEFFREY ADAIR,                              ) Case No. CV 16-3224-GW(AFMx)
 5
                                                  )
 6    Plaintiff,                                  ) ORDER
 7
                                                  )
             vs.                                  )
 8                                                )
 9
      SYNCHRONY BANK,                             )
                                                  )
10    Defendant.
                                                  )
11                                                )
12

13           IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
14    to dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
15    41(a)(1)(A)(ii), the entire case is dismissed with prejudice. Each party shall bear
16    their own costs and attorneys’ fees.
17

18                                           Dated this 6th day of September, 2016.
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21                                           _______________________________
                                             GEORGE H. WU, U.S. District Judge
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                                         Order to Dismiss - 1
